            CaseApplication
   AO 106A (08/18) 2:24-mj-03694-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    06/20/24
                                                                                    Means         Page 1 of 42 Page ID #:1


                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Central District
                                                     __________ Districtofof
                                                                           California
                                                                             __________

        In the Matter of the Search of a 2019 Volvo Truck               )
         bearing California (CA) license plate “XP73298”                )
                with VIN 4V4NC9EH5KN899626                              )         Case No. 2:24-MJ-3694


       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A-7
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      evidence of a crime;
                      contraband, fruits of crime, or other items illegally possessed;
                      property designed for use, intended for use, or used in committing a crime;
                      a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
               Code Section                                                         Offense Description
          18 U.S.C. § 549                                                Removing Goods from Customs Custody
          18 U.S.C. § 371                                                Conspiracy
          18 U.S.C. § 545                                                Smuggling
          18 U.S.C. § 542                                                Entry of Goods By Means of False Statement
             The application is based on these facts:
                   See attached Affidavit
                      Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                   ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                            /s/
                                                                                                    Applicant’s signature
                                                                            Martina Doino, HSI Special Agent
                                                                                                    Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                    Judge’s signature

City and state: Los Angeles, CA                                             The Hon. Rozella A. Oliver, Magistrate Judge
                                                                                                    Printed name and title

AUSA: Colin Scott (x3159)
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 2 of 42 Page ID #:2




                       ATTACHMENT A-7

PREMISES TO BE SEARCHED



       A 2019 Volvo Truck bearing California (CA) license plate

“XP73298” with VIN 4V4NC9EH5KN899626 registered to American

Sunshine World Inc. at SUBJECT PREMISES 1 (the “SUBJECT VEHICLE

4”).
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 3 of 42 Page ID #:3




                              ATTACHMENT B

ITEMS TO BE SEIZED

     1.   The items to be seized are evidence, contraband

fruits, or instrumentalities of violations of 18 U.S.C. § 549

(Removing Goods from Customs Custody); 18 U.S.C. 371

(Conspiracy); 18 U.S.C. § 545 (Smuggling Goods into the United

States); and 18 U.S.C. § 542 (Entry of Goods by Means of False

Statements) (collectively, the “SUBJECT OFFENSES”), namely:

          a.    All records relating to America Sunshine World

Trade Inc.;

          b.    All records related to Cargo Containers with seal

numbers: CBHU9033516, TGBU4927389, CAIU4654017, TCNU5576078, and

MATU2680094.

          c.    All records related to the shipment of cargo

container seals for the following seal numbers: 135841, 1356819,

1356735, 1357647, 1356804, 1201452; MATU25660801, MATU2658383,

1396679, 1396668, 1396644, MATU2759347, MATU2654726, and

MATU2666497;

          d.    Any high security bolt seals, including any

counterfeit or duplicate high security bolt seals;

          e.    Any counterfeit items or prohibited food items;

          f.    Communications between JI, XU, YU, LI, and FANG

related to the shipment of cargo containers;

          g.    Data, records, documents, programs, applications

or materials relating to the shipment or smuggling of goods,

including ledgers, pay/owe records, distribution or customer
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 4 of 42 Page ID #:4




lists, correspondence, receipts, records, rules, regulations,

contracts, policies, agreements, and documents noting price,

quantities, and/or times goods were bought, sold or otherwise

distributed and any materials, documents, or records that are

related to the sale, purchase, receipt, or possession of any

smuggled goods, including books, receipts, photographs, bills of

sale, shipping receipts, identification cards, bank statements,

and correspondence discussing, requesting or confirming

purchase, sale or shipment;

          h.    Tools, paraphernalia, or materials used as a

means of packaging, selling, or distributing goods;

          i.    Any indicia of occupancy, residency, or ownership

of SUBJECT PREMISES 1, 2, or 3 or the SUBJECT VEHICLES,

including forms of personal identification, records relating to

utility bills, telephone bills, loan payment receipts, rent

receipts, trust deeds, lease or rental agreements, addressed

envelopes, escrow documents, keys, photographs, letters, mail,

canceled mail envelopes, or clothing;

          j.    Items of personal property reflecting names,

addresses, telephone numbers, or communications of members or

associates involved in the smuggling activities, including

personal telephone books, address books, telephone bills,

photographs, videotapes, facsimiles, personal notes, cables,

telegrams, receipts, and documents and other items;

          k.    Any bills and/or subscriber documents related to

digital devices;
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 5 of 42 Page ID #:5




          l.    United States currency, money orders, or similar

monetary instruments over $1,000 or bearer instruments worth

over $1,000 (including cashier's checks, traveler's checks,

certificates of· deposit, stock certificates, and bonds);

          m.    Records, documents, programs, applications, or

materials reflecting or relating to payment, receipt,

concealment, transfer, or movement of money, including but not

limited to bank account records and other financial institution

records, wire transfer records, receipts, safe deposit box keys

and records, and notes;

          n.    Records, communications, information, documents,

programs, applications, or materials relating to communications

made or records submitted to U.S Customs and Border Protection

concerning the importation of merchandise;

          o.    Records, communications, information, documents,

programs, applications, or materials relating to communications

made or records submitted to any/all customs house broker(s);

          p.    Records, communications, information, documents,

programs, applications, or materials relating to communications

made or records submitted to U.S Customs and Border Protection

concerning the importation of merchandise;

          q.    For all digital devices, records, documents,

programs, applications or materials, or evidence of the absence

of same, sufficient to show address book information, including

all stored or saved telephone numbers;

          r.    For all digital devices, records, documents,

programs, applications or materials, or evidence of the absence
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 6 of 42 Page ID #:6




of same, sufficient to show call log information, including all

telephone numbers dialed from any digital devices used to

facilitate the SUBJECT OFFENSES and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

          s.      Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email or social media communications or other

text or written communications sent to or received from any

digital device;

          t.      Contents of any calendar or date book, including

any calendars or date books stored on any digital devices;

          u.      Audio recordings, photographs, video recordings

or still captured images on any digital device, phone memory

cards, or other storage related to the purchase, sale,

transportation, or distribution of controlled substances and

listed chemicals or the collection, transfer or laundering of

the proceeds of illegal activities;

          v.      GPS coordinates and other location information or

records identifying travel routes, destinations, origination

points, and other locations; and

          w.      Any digital device used to facilitate the above

listed violations and forensic copies thereof.

     2.   Any digital device which is itself or which contains

evidence, contraband, fruits, or instrumentalities of the

SUBJECT OFFENSES, and forensic copies thereof.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 7 of 42 Page ID #:7




     3.   With respect to any digital device containing evidence

falling within the scope of the foregoing categories of items to

be seized:

          a.    evidence of who used, owned, or controlled the

device at the time the things described in this warrant were

created, edited, or deleted;

          b.    evidence of the presence or absence of software

that would allow others to control the device, such as viruses,

Trojan horses, and other forms of malicious software, as well as

evidence of the presence or absence of security software

designed to detect malicious software;

          c.    evidence of the attachment of other devices;

          d.    evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

          e.    evidence of the times the device was used;

          f.    applications, programs, software, documentation,

manuals, passwords, keys, and other access devices that may be

necessary to access the device or data stored on the device, to

run software contained on the device, or to conduct a forensic

examination of the device;

          g.    records of or information about Internet Protocol

addresses used by the device.

     4.   As used herein, the terms “records,” “information,”

“documents,” “programs,” “applications,” and “materials” include

records, information, documents, programs, applications, and

materials created, modified, or stored in any form, including in
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 8 of 42 Page ID #:8




digital form on any digital device and any forensic copies

thereof.

     5.    As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

SEARCH PROCEDURE FOR DIGITAL DEVICES

     6.    In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 9 of 42 Page ID #:9




facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

          b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the scope

of items to be seized.     The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the scope of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase,” “Griffeye,” and “FTK”

(Forensic Tool Kit), which tools may use hashing and other

sophisticated techniques.

          c.    The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 10 of 42 Page ID #:10




to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           d.    If the search determines that a digital device

does not contain any data falling within the scope of items to

be seized, the government will, as soon as is practicable,

return the device and delete or destroy all forensic copies

thereof.

           e.    If the search determines that a digital device

does contain data falling within the scope of items to be

seized, the government may make and retain copies of such data,

and may access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the scope of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 11 of 42 Page ID #:11




outside the scope of the items to be seized absent further order

of the Court.

      7.   The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

      8.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 12 of 42 Page ID #:12




                                 AFFIDAVIT

I, Martina Doino, being duly sworn, declare and state as

follows:

                            I.    INTRODUCTION

      1.   I am a Special Agent with the Department of Homeland

Security (“DHS”) Immigration and Customs Enforcement (“ICE”),

Homeland Security Investigations (“HSI”), and have been so

employed since December 2019.

      2.   I attended the HSI Criminal Investigator Training

Program at the Federal Law Enforcement Training Center(“FLETC”),

in Glynco, Georgia.     At FLETC, I received training in conducting

criminal investigations into customs violations such as

narcotics smuggling, interdiction, and distribution of

controlled substances.

      3.   I am currently assigned to the Los Angeles Border

Enforcement Security Taskforce (“LA BEST”) in Los Angeles,

California, and have been so assigned since August 2021.           LA

BEST is a multiagency task force aimed at identifying,

targeting, and eliminating vulnerabilities to the security of

the United States related to the Los Angeles/Long Beach seaport

complex, as well as the surrounding transportation and maritime

corridors.    My responsibilities include the investigation of

violations of federal criminal laws, including crimes involving

money laundering, narcotics trafficking, smuggling, fraud, and

immigration violations.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 13 of 42 Page ID #:13




      4.   Prior to my tenure as a special agent, I was a police

officer in Key Biscayne, Florida from February 2015 to May 2019.

From July 2018 to May 2019, I was a Task Force Officer (“TFO”)

on a High Intensity Drug Trafficking Area Task Force, where I

participated in investigations into money laundering and drug

trafficking crimes in South Florida.        Throughout my law

enforcement career, I have participated in numerous criminal

investigations involving narcotics importation, exportation or

distribution.    Through these investigations, I am familiar with

the methods and practices of drug users, drug traffickers, and

drug manufacturers.     I have also spoken at length with other HSI

SAs and local law enforcement officers regarding methods of drug

trafficking.

      5.   Through my investigations, my training and experience,

and discussions with other law enforcement personnel, I have

become familiar with the tactics and methods employed by

controlled substance traffickers to smuggle and safeguard

controlled substances, distribute controlled substances, and

collect and launder the proceeds from the sale of controlled

substances.    These methods include, but are not limited to, the

use of wireless communications technology, such as cellular

telephones and prepaid cellular accounts; counter surveillance;

false or fictitious identities; and coded or vague

communications in an attempt to avoid detection by law

enforcement.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 14 of 42 Page ID #:14



                       II.   PURPOSE OF AFFIDAVIT

      6.   This affidavit is made in support of applications for

search warrants for the following:

           a.     6336 Eucalyptus Avenue, Chino, California 91710

(the “SUBJECT PREMISES 1”), as described more fully in

Attachment A-1;

           b.     17895 Lone Ranger Trail, Chino Hills, California

91709 (the “SUBJECT PREMISES 2”), as described more fully in

Attachment A-2;

           c.     7073 Montecito Lane, East Vale, California 92880

(the “SUBJECT PREMISES 3”), as described more fully in

Attachment A-3;

           d.     A 2018 Volvo Truck model VNL bearing California

(CA) license plate “YP18603” with vehicle identification number

“VIN” 4V4NC9EH6JN890576 registered to America Sunshine World

Trade Inc. at SUBJECT PREMISES 1 (the “SUBJECT VEHICLE 1”), as

described more fully in Attachment A-4;

           e.     A 2019 Volvo Truck bearing California (CA)

license plate “YP82479” with VIN 4V4NC9EHXKN219669 registered to

America Sunshine World Trade Inc. at SUBJECT PREMISES 1 (the

“SUBJECT VEHICLE 2”), as described more fully in Attachment A-5;

           f.     A 2019 Volvo Truck bearing California (CA)

license plate “YP65715” with VIN 4V4NC9EH3KN899625 registered to

America Sunshine World Trade Inc at SUBJECT PREMISES 1 (the

“SUBJECT VEHICLE 3”), as described more fully in Attachment A-6;

and
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 15 of 42 Page ID #:15




           g.    A 2019 Volvo Truck bearing California (CA)

license plate “XP73298” with VIN 4V4NC9EH5KN899626 registered to

America Sunshine World Trade Inc at SUBJECT PREMISES 1 (the

“SUBJECT VEHICLE 4”), as described more fully in Attachment A-7;

      7.   The requested search warrants seek authorization to

seize fruits, instrumentalities, and evidence of violations of

18 U.S.C. § 549 (Removing Goods from Customs Custody); 18 U.S.C.

§ 371 (Conspiracy), 18 U.S.C. § 545 (Smuggling Goods into the

United States); and 18 U.S.C. § 542 (Entry of Goods by Means of

False Statements) (collectively, the “SUBJECT OFFENSES”), as

described more fully in Attachment B.        Attachments A-1, A-2, A-

3, A-4, A-5, A-6, A-7, and B are incorporated by reference

herein.

      8.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 16 of 42 Page ID #:16



III.Background on Cargo Container Shipments at the Port of Los
                              Angeles

      9.    United States Customs and Border Protection (“CBP”) is

responsible for, among other things, the examination of

merchandise entering the United States to ensure that it is

admissible under and in compliance with United States laws, and

the assessment and collection of taxes, fees, and duties on

imported merchandise.     In order to properly assess fees, CBP

relies on a self-reporting regime in which different custom

brokers inform CBP about the contents of the cargo they are

trying to import into the United States.

      10.   Importers must supply CBP with 10 data elements when

bringing goods into the United States which includes: Seller,

Buyer, Importer of Record number, Consignee number,

Manufacturer/Supplier, Ship To party, Country of Origin, HTSUS

number, Container stuffing location, and Consolidator/Stuffer

name/address).

      11.   CBP has local and national targeting units that

targets shipments that may yield prohibited items.

      12.   Once cargo has been selected for CBP examination, CBP

will examine the contents of the cargo for discrepancies such as

verifying whether the manifest is accurate, whether the goods

have consistent country of origin markings, whether there are

contraband or smuggled goods, as well as inspecting for

environmental, and agricultural violations.

      13.   Once the shipment has been selected for further

inspection, the container is brought to a Centralized
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 17 of 42 Page ID #:17




Examination Site CES (“CES”) for further inspection.           Containers

are supposed to proceed directly to the CES after being selected

for inspection.

      14.   The Port of Long Beach/Los Angeles handles about 40

percent of secondary inspections for the entire country.           Due to

the uniquely high volume at the Port of Long Beach/Los Angeles,

the transportation of the containers selected for further

inspection is not always controlled by CBP.         In fact, the

transportation of some containers selected for inspection is

controlled by the broker who filed the entry/importation

paperwork.    In Los Angeles, custom brokers are allowed to select

their own trucking company to pick up the container and take it

to a CES for further inspection.       This type of drayage, which is

the process by which a container is unloaded, is called broker

controlled drayage.     The broker controlled drayage process is

unique to the Los Angeles and Long Beach port.          No other

domestic ports have this policy in place.

      15.   Once cargo containers are ready for transportation at

their place of origin, a high security bolt seal is affixed on

the doors of the container, by the carrier, to maintain its

integrity and to prevent any unauthorized person from gaining

access to the cargo.     The purpose of the high security bolt seal

is to ensure that the cargo inside the container is not

compromised.    Each high security bolt seal has its own unique

identification number that is documented on several import

documents.    The high security bolt seal number is assigned by
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 18 of 42 Page ID #:18




the vessel carrier that will transport the sea container to its

destination.    Below is a picture of a high security bolt seal.




     16.    On February 1, 2023, Customs and Border Protection

(“CBP”) discovered that cargo was missing from a container that

had just arrived from China, and that the missing cargo was

replaced, or swapped, with cargo that had clearly already

entered the United States, some of which had already undergone

CBP inspection.

     17.    This cargo swap was accomplished by using a fraudulent

high security bolt seal that cloned the correctly manifested

seal and its unique identification number and gave the

appearance that the container had not been opened when it fact

its contents had been removed and the fraudulent high security

bolt seal installed.

      18.   Homeland Security Investigations (“HSI”) opened an

investigation to determine how the cargo swap occurred, what

cargo was removed, and who was involved in orchestrating the

breaking of the seal and removal of cargo in customs custody.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 19 of 42 Page ID #:19




     19.   Since then, CBP has uncovered 102 more incidents of

“cargo swapping.”     That is incidents, where cargo containers had

their high security bolts cut and the cargo inside removed

before being inspected by CBP.

     20.   HSI investigators have uncovered the cargo swapping

scheme is a direct result of persons illegally exploiting

vulnerabilities within the customer broker drayage process at

the Port of Long Beach, California.

     21.   As described above, CBP allows customs brokers to

arrange their own transportation between the port terminals and

the centralized examination stations (CES) where CBP conducts

inspection on imported goods that have been selected for

inspection.

     22.   HSI has found some brokers, importers, and logistic

companies are not following CBP’s explicit instructions to

deliver containers directly to the CES locations.

     23.   The investigation has uncovered that some containers

are diverted during the drayage process to prevent customs

inspections and bypass custom fees.

     24.   Instead of being brought to the CES, HSI found that

some containers are brought to an offsite location, the seal is

cut, and the cargo is swapped out for recycled used items.           A

clone seal matching the numbers of the original seal is then

placed on the container.      The container is ultimately delivered

to be inspected by CBP.

     25.   HSI has concluded the smuggling scheme undermines the

Government’s ability to inspect goods coming into the United
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 20 of 42 Page ID #:20




States, prevent prohibited items from entering the United

States, and impose appropriate custom duty fees.

     26.    Although the exact number of swapped cargo incidents

are currently unknown, a conservative estimate of losses would

be around $50,000 dollars per diverted container in lost custom

fees and fines.    Based on the over 100 documented incidents, HSI

believes that the scheme has resulted in at least approximately

$5,000,000 in lost revenue to the United States.

     27.    In March 2024, federal agents were able to determine

the cloned seals were being imported via the international mail

from China by targets of the investigation.         Agents began an

investigation that included intercepting the air parcels,

documenting the seal number, and placing CBP holds that would

trigger controlled drayage on the impacted shipping containers.

This operation led to the identification of more than 40 air

parcels containing approximately 88 cloned seals and 79

associated sea containers.

      28.   To date HSI has seized more than $50,000,000 worth of

prohibited items that would have been diverted and entered the

United States without inspection.       The numbers continue to grow

every day as more inspections are completed and items are

discovered.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 21 of 42 Page ID #:21



                    IV.SUMMARY OF PROBABLE CAUSE

       29.   On January 25, 2024, CBP officers inspected container

number CBHU9033516 (the “3516 Container”) which had arrived at

the Port of Long Beach, California from China on January 14,

2024.

       30.   During the inspection CBP officers found cartons that

appeared to have been retaped, which contained metal boxes with

hallowed out holes in them.      The presence of these items

suggested the cargo had been tampered with prior to the CBP

inspection.     Additionally, the shipment was manifested as audio

connectors, but no items matched that description within the

container.

       31.   Federal agents reviewed the records provided by the

CES and learned the listed driver for the 3516 Container was

Jinning Li.     The listed trucking company was UUL Transportation

LLC.

       32.   Since that first incident in January of 2024, HSI

investigators have associated approximately at least four cargo

swapping events to Jinning Li and his company America Sunshine

World Trade Inc., registered at SUBJECT PREMISES 1.          As

described below, these events involved cargo containers with the

following numbers: TGBU4927389 (the “7389 Container”),

CAIU4654017 (the “4017 Container”), TCNU5576078 (the “6078

Container”) and MATU2680094 (the “0094 Container”).

       33.   A review of records provided to law enforcement by the

CES facilities show the SUBJECT VEHICLES 1, 2, 3, and 4

(together the “SUBJECT VEHICLES”) were utilized in approximately
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 22 of 42 Page ID #:22




six cargo swapping events and are all registered to America

Sunshine World Trade Inc. at SUBJECT PREMISES 1.

      34.   As a result of this investigation into cargo swapping,

federal agents began targeting international mail parcels

destined for SUBJECT PREMISES 2 and 3.        Between March through

June of 2024, law enforcement was able to identify, and seize,

10 total packages destined for the SUBJECT PREMISES 2 and 3.

The inspections of these air parcels led to the discovery of

approximately 21 cloned seals.       The cloned seals corresponded to

20 shipping containers destined for the Port of Long Beach.

      35.   The investigation has revealed approximately two air

parcels containing counterfeit cloned seals addressed to “Jimmy

Li or Mr. Shi” at SUBJECT PREMISES 2.

      36.   Record checks of the California Department of Motor

vehicle system show SUBJECT PREMISE 2 listed as the address on

Li’s California driver license number E2128408.

      37.   At least one intercepted air parcel containing cloned

seals listed phone number 620-417-5518 on the shipping label.

      38.   Law enforcement record checks revealed Li used the

same phone number on a United States passport application in

2023.

      39.   The investigation also revealed eight air parcels

containing cloned seals addressed to “Shan Fang” at SUBJECT

PREMISE 3.

      40.   Between March through June 2024, federal agents

conducted inspections of the containers identified during the

interception of air parcels destined for SUBJECT PREMISES 2 and
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 23 of 42 Page ID #:23




3.    Agents found the containers contained various items that

were not manifested correctly including counterfeit shoes, bags,

ear buds, prohibited food items, and other illegal freight.

       41.     Based on these facts, I believe Li and other unknown

co-conspirators participated in cargo swapping events and

conspired to divert additional containers by importing cloned

seals via the mail.

                      V.STATEMENT OF PROBABLE CAUSE

       42.     Based on my review of law enforcement reports and

court records, conversations with other law enforcement agents,

and my own knowledge of the investigation, I am aware of the

following:

     A. A cargo swapping event on January 26 involving SUBJECT
        PREMISE 1 and SUBJECT VEHICLE 1
       43.     I know from reviewing law enforcement records, that on

January 16, 2024, the 7389 Container arrived at the Port of Long

Beach, California aboard the CMA CGM Virginia from Shanghai,

China.       On January 9, 2024, CBP placed an examination hold to

inspect the contents of that container.

       44.     On January 25, 2024, the 7389 Container arrived at the

Price CES located in Carson, California at approximately 10:04

p.m.

       45.     According to the terminal out gate ticket 1, I know that

the 7389 Container was picked up at the Fenix Marine Terminal


1
 A terminal out gate ticket is a document provided to truck drivers
when exiting a terminal that includes the container number in their
possession and time stamps of their departure.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 24 of 42 Page ID #:24




inside the Port of Long Beach on January 24, 2024, at approximately

9:10 p.m.

      46.   Based on my review of the in-gate ticket 2 from the

Price CES, I know that the container took almost twenty-four

hours and fifty-four minutes to reach the Price CES.           The total

distance between the Price CES and Long Beach Terminal is

approximately 11 miles, with an estimated 25-minute drive time

at peak traffic.     The fact that it took the 7389 Container over

twenty-four hours to reach the Price CES suggests to me that it

was illegally diverted to a third location prior to it being

delivered to the Price CES.

      47.   I know from reviewing law enforcement reports that on

January 26, 2024, CBP inspected the contents of the 7389

Container and found boxes on wood pallets that were plastic

wrapped.    The wood pallets had heat treated stamps from the USA,

Mexico, France, and Italy.      There were cartons that appeared to

have been retaped which contained metal boxes with empty space

within them.    The metal boxes were labeled as tool and light

fixtures.    Scented dryer sheets were also found inside some of

the boxes.

      48.   The presence of these items suggested to me that the

cargo had been swapped prior to the CBP Inspection.          The

shipment was manifested as containing hair curling irons, but no

items matching that description were found.         I am also aware of


2
 Similar to an out-gate ticket, a terminal ingate ticket is a document
provided to truck drivers when entering a terminal that includes the
container number in their possession and time stamps of their arrival.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 25 of 42 Page ID #:25




a pattern from past smuggling investigations in which smugglers

will utilize dryer sheets to mask the smells of bulk currency,

marijuana, or cigarettes in order to avoid detection.

       49.   Therefore, based on the presence of this type of cargo

and dryer sheets, I came to the conclusion that the original

cargo had been swapped and replaced with already inspected

cargo.

       50.   Based on a review of documents provided by PRICE CES,

I know that the trucking company who transported the 7389

Container was UUL Transportation LLC.

       51.   The listed driver of the 7389 Container was Chao ZHAO.

SUBJECT VEHICLE 1 was listed as the truck utilized to drop off

the 7389 Container at the Price CES Facility.         I know from

reviewing California Department of Motor Vehicle records that

SUBJECT VEHICLE 1 is registered to America Sunshine World Trade,

Inc. at SUBJECT PREMISE 1.

   B. Two cargo swapping events on March 20 and April 15, 2024,
      involving SUBJECT PREMISE 1 and SUBJECT VEHICLE 2
       52.   I know from reviewing law enforcement records, that on

March 4, 2024, the 4017 Container arrived at the Port of Long

Beach, California aboard the SM Long Beach from Shanghai, China.

Previously on February 21, 2024, CBP placed an examination hold

to inspect the contents of that container.

       53.   On March 16, 2024, the 4017 Container arrived at the

Price CES located in Carson, California at approximately 12:23

a.m.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 26 of 42 Page ID #:26




       54.   According to the terminal out gate ticket, I know that

the 4017 Container was picked up at the SSA Marine Terminal inside

the Port of Long Beach on March 15, 2024, at approximately 11:16

a.m.

       55.   Based on my review of the in-gate ticket from the

Price CES, I know that the container took almost thirteen hours

and seven minutes to reach the Price CES.         The total distance

between the Price CES and Long Beach Terminal is approximately

11 miles, with an estimated 25-minute drive time at peak

traffic.     The fact that it took the 4017 Container over thirteen

hours to reach the Price CES suggests to me that it was

illegally diverted to a third location prior to it being

delivered to the Price CES.

       56.   I know from reviewing law enforcement reports that on

March 20, 2024, CBP inspected the contents of the 4017 Container

and found packages of universal toolboxes and wall mount

cabinets on wood pallets which were plastic wrapped.           The wood

pallets had stamps from the USA, Mexico, and France.           Law

enforcement also found markings left by CBP from a previous

inspection on January 26, 2024.

       57.   The presence of these prior CBP markings suggested

that the cargo had been swapped prior to the March 20, 2024, CBP

Inspection since the container should not have been opened

prior, and therefore should not have contained any indicia of

past CBP examinations.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 27 of 42 Page ID #:27




      58.   Based on this evidence, I came to the conclusion that

the original cargo had been swapped and replaced with already

inspected cargo.

      59.   Based on a review of documents voluntarily provided by

PRICE CES, I know that the trucking company who transported the

4017 Container was America Sunshine World Trade Inc.

      60.   The listed driver for the 4017 Container was Jingnan

Xu using the SUBJECT VEHICLE 2.       SUBJECT VEHICLE 2 is registered

to America Sunshine World Trade Inc. at SUBJECT PREMISES 1.

      61.   On April 15, 2024, CBP inspected the 5610 Container

which arrived from China on April 4, 2024.         During the

inspection, CBP found markings on the boxes which were from a

previous CBP inspection on January 26, 2024.         The presence of

these markings indicates the cargo had been swapped prior to

inspection and the original contents of the container were then

diverted.

      62.   Based on a review of documents voluntarily provided by

PRICE CES, I know that the trucking company who transported the

4017 Container was America Sunshine World Trade Inc.

      63.   The listed driver was Jingnan Xu utilizing SUBJECT

VEHICLE 2, which is registered to America Sunshine World Trade,

Inc. at SUBJECT PREMISES 1.

   C. Two cargo swapping events on April 10 and April 18, 2024,
      involving SUBJECT PREMISE 1 and SUBJECT VEHICLE 3

      64.   I know from reviewing law enforcement records, that on

March 29, 2024, the 6078 Container arrived at the Port of Long
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 28 of 42 Page ID #:28




Beach, California aboard the COSCO France from Nansha, China.

On March 28, 2024, CBP placed an examination hold to inspect the

contents of that container.

       65.   On April 9, 2024, the 6078 Container arrived at the

Price CES located in Carson, California at approximately 6:22

p.m.

       66.   According to the terminal out gate ticket, I know that

the 6078 Container was picked up at the Long Beach Terminal inside

the Port of Long Beach on April 8, 2024, at approximately 8:46

p.m.

       67.   Based on my review of the in-gate ticket from the

Price CES, I know that the container took almost twenty-one

hours and thirty six minutes to reach the Price CES.           The total

distance between the Price CES and Long Beach Terminal is

approximately 11 miles, with an estimated 25-minute drive time

at peak traffic.     The fact that it took the 6078 Container over

twenty hours to reach the Price CES suggests to me that it was

illegally diverted to a third location prior to it being

delivered to the Price CES.

       68.   I know from reviewing law enforcement reports that on

April 10, 2024, CBP inspected the contents of the 6078 Container

and found boxes of umbrellas and purple leaf brand aluminum

pergolas.    The boxes appeared dirty and dusty and had delivery

labels with a print date of March 2022.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 29 of 42 Page ID #:29




      69.   The COSCO 3 seal affixed to the container was scuffed

and appeared to have been altered as there were numerous

scratches and scuff marks where the seal number was lasered.

      70.   The presence of these items suggested the cargo had

been swapped prior to the CBP Inspection since the items were of

little to no value and the boxes were not in optimal condition.

The physical state of the seal also suggested to me that it was

tampered with.

      71.   I concluded that the original cargo had been swapped

and replaced with already inspected cargo.

      72.   Based on a review of documents provided by PRICE CES,

I know that the trucking company who transported the 6078

Container was America Sunshine World Trade, Inc.            The listed

driver was Yansheng LI utilizing SUBJECT VEHICLE 3.

      73.   SUBJECT VEHICLE 3 is registered to America Sunshine

World Trade, Inc. at SUBJECT PREMISES 1.

      74.   On April 18, 2024, CBP inspected the 6533 Container

which arrived from China on April 10, 2024.           During the

inspection, CBP found Amazon Basics paper shredders.             The boxes

were plastic wrapped on wood pallets that had stamps from

Mexico, Chile, Peru, and Germany.         The Evergreen 4 seal affixed to

the container appeared to have had the seal numbered filed down

and lasered over.



3  COSCO is an international logistics company that provides seals for cargo
containers.
4
  Evergreen is an international logistics company that provides seals for cargo
containers.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 30 of 42 Page ID #:30




       75.   Based on a review of documents voluntarily provided by

FCL CES, I know that the trucking company who transported the

6533 Container was America Sunshine World Trade, Inc.           The

listed driver was Jingnan Xu utilizing SUBJECT VEHICLE 3, which

is registered to America Sunshine World Trade, Inc. at SUBJECT

PREMISES 1.

   D. Cargo swapping events on May 9, linked to SUBJECT PREMISES
      1 and SUBJECT VEHICLE 4
       76.   I know from reviewing law enforcement records, that on

April 30, 2024, the 0094 Container arrived at the Port of Long

Beach, California aboard the MANOA from Shanghai, China.

Previously, on April 29, 2024, CBP placed an examination hold to

inspect the contents of the 0094 Container.

       77.   On May 8, 2024, the 0094 Container arrived at the

Price CES located in Carson, California at approximately 6:22

p.m.

       78.   According to the terminal out gate ticket, I know that

the 0094 Container was picked up at Terminal A inside the Port of

Long Beach on May 7, 2024, at approximately 5:42 p.m.

       79.   Based on my review of the in-gate ticket from the

Price CES, I know that the container took almost sixteen hours

and five minutes to reach the Price CES.         The total distance

between the Price CES and Terminal A is approximately 11 miles,

with an estimated 25-minute drive time at peak traffic.           The

fact that it took the 0094 Container over sixteen hours to reach

the Price CES suggests to me that it was illegally diverted to a

third location prior to it being delivered to the Price CES.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 31 of 42 Page ID #:31




      80.   I know from reviewing law enforcement reports that on

May 9, 2024, CBP inspected the contents of the 0094 Container

and found boxes of Jaki Branded Flower Bouquet building kits,

dry wipes, and stretch film, among other miscellaneous items.

The cargo was manifested, however, as mobile phone cases.

      81.   Based on my training and experience and knowledge of

the investigation, as well as the apparently relative low value

of the items in light of likely shipping costs, extensive time

it took to transport the container to the CES, and inconsistency

with the manifest, I believe that the cargo had been swapped

prior to the CBP inspection.

      82.   Based on a review of documents provided by PRICE CES,

I know that the trucking company who transported the 0094

container was America Sunshine World Trade Inc.          The listed

driver was Peng YU utilizing SUBJECT VEHICLE 4, which is

registered to America Sunshine World Trade Inc. at SUBJECT

PREMISES 1.

   E. Targeting of international mail parcels destined for
      SUBJECT PREMISE 2 reveals fraudulent cloned seals
     83.    On or about March 28, 2024, Task Force Officer Han Yit

and I contacted CBP Officers at the UPS Hub in Ontario,

California regarding a package that had arrived at the facility

from China.

     84.    On March 28, 2024, CBP officers conducted a border

search of the UPS package at the UPS Hub in Ontario, California

after it arrived from China.       Inside the package, law

enforcement found eight counterfeit high security bolt seals.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 32 of 42 Page ID #:32




Six of the eight counterfeit high security bolt seals were for

MATSON cargo containers with seal numbers 135841, 1356819,

1356735, 1357647, 1356804, and 1201452.        The other two high

security bolt seals were for COSCO cargo containers with seal

numbers SYA2306931 and SYA2108246.        MATSON and COSCO are

logistic companies that provides worldwide maritime shipping of

sea containers among other types of transportation.          The package

was labeled "Seal Socks Seal Socks.”

      85.   I saw that the listed shipper for the package was Ling

Yang, 304 3F Building B Jihe Dianshang, China Mainland.

      86.   The listed recipient for the package was “Mr. Shi” at

SUBJECT PREMISES 2.

      87.   As part of this investigation, the packages were

repackaged and released to be delivered to SUBJECT PREMISES 2.

The packages were then delivered to SUBJECT PREMISES 2 on April

10, 2024.

      88.   Based on my knowledge of the investigation, I know

that the counterfeit seals inside the air parcel correlated to

eight separate sea containers in transit from China.           Container

numbers MATU25660801 (the “0801 Container”) and MATU2658383 (the

“8383 Container”) were the first to arrive at the Port of Long

Beach on March 31, 2024, and April 1, 2024, respectively.

      89.    On April 9, 2024, Agents inspected the contents of

the first container, the 0801 Container, and found it was

manifested incorrectly.      Inside the container, agents found

prohibited items such as counterfeit shoes, bags, synthetic

steroids, and rifle iron sights.       According to CBP officials,
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 33 of 42 Page ID #:33




the total value for the seized items was approximately

$16,984,156.

      90.   On or about April 23, 2024, CBP officers began the

inspection of the 8383 Container, and found it was also

manifested incorrectly.      Federal agents found prohibited

counterfeit items such as such Apple Air Pods, Chanel handbags,

Nike hats, and Ray Bans Sunglasses among other items. The total

value for the seized items was approximately $8,071,536.

      91.   Based on the existence of the cloned seals and what I

learned from prior cargo inspections in this investigation, I

believe these containers would have been diverted and a cargo

swap would have occurred if law enforcement did not learn about

the existence of these containers by intercepting the seals that

were destined to arrive at SUBJECT PREMISE 2.

      92.   On March 21, 2024, I learned that another package was

scheduled to be delivered to SUBJECT PREMISE 2, which was

labeled “Lock Lock.”     The listed recipient was “Jimmy LI” with a

phone number of 620-417-5518.

      93.    I believe “Jimmy Li” is Li based on law enforcement

database record checks of the phone number 620-471-5518.

Specifically, that phone number was listed on Li’s 2023 United

States Passport application.

      94.   I first learned about this package on March 21, 2024,

when it arrived from China at the DHL Cincinnati Hub located in

Cincinnati, Ohio.     The package was subsequently released from

CBP custody without an inspection and arrived at the DHL
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 34 of 42 Page ID #:34




facility in Los Angeles, California to be delivered to SUBJECT

PREMISES 1.

      95.    On March 22, 2024, the package was subsequently seized

by HSI.     On April 5, 2024, I obtained a search warrant from the

Honorable Magistrate Judge Maria Audero, in case number 2:24-MJ-

2020, and searched the contents of the package.

     96.     The package contained one cloned MATSON seal with

number 1405296.     This seal correlated to a container MATSON

1405296, which had arrived from China on April 9, 2024. The

container left the terminal on March 22, 2024, before an

inspection could take place.
   F. Targeting of international mail parcels destined for
      SUBJECT PREMISE 3
     97.     On or about May 2, 2024, Task Force Officer Han Yit

and I contacted CBP Officers at the Los Angeles International

Airport International Bonded Carriers Facility in Los Angeles,

California regarding a UPS package that had arrived at the

facility from China.

      98.    On May 3, 2024, CBP Officers conducted a border search

of the UPS package at the Los Angeles International Airport

facility.     Inside the package there were three MATSON

counterfeit high security bolt seals with seal numbers 1396679,

1396668, and 1396644.     The package was labeled "Door Lock.”

      99.    I found that the listed shipper for the package was

Shanghai Cihui Trading Co LTD, Shanghai, China Mainland.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 35 of 42 Page ID #:35




      100. The listed recipient for the package was “Shan Fang”

at SUBJECT PREMISES 3.      The listed phone number on the shipping

label was 626-833-7234.

      101. Open-source record checks of the phone number 626-833-

7234 came back to UUL Transportation LLC.         I know that in

January 2024, Li was identified as the driver for a cargo

swapping event where UUL Transportation LLC was listed as the

trucking company.

      102. I determined that the phone number listed on the UPS

package described above is registered to a Jia Zhang, based on

the subscriber records described below.

      103. I reviewed records obtained from Verizon containing

the subscriber data for the phone number listed for the package

containing the cloned seals, 626-833-7234.         Based on the

information provided by Verizon, the phone number listed for the

package was subscribed to by Jia Zhang with a billing address of

SUBJECT PREMISE 3.

      104. The package was repackaged and released to be

delivered.    The package was then delivered to SUBJECT PREMISES 3

on May 4, 2024.

      105. The counterfeit seals inside the air parcel

corresponded to three separate cargo containers in transit from

China with container numbers MATU2759347 (the “9374 Container”),

MATU2654726 (the “4726 Container”), and MATU2666497 (the “6497

Container”), which were all slated to arrive at the Port of Long

Beach on April 30, 2024.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 36 of 42 Page ID #:36




      106.    On or around May 21, 2024, CBP detained and inspected

the container the 6497 Container.       During the inspection, CBP

found prohibited items such as drug paraphernalia and suspected

counterfeit United States quarters.

     107. To date there have been a total of eight international

mail shipments containing approximately 11 cloned seals

intercepted by HSI that were destined to SUBJECT PREMISES 3.

     108. Based on a review of records produced by law

enforcement data base checks of “Shan FANG” I learned the

following:

             a.     Shan FANG is a Chinese born citizen.     FANG

currently has a temporary Visitor Visa B1/B2 which is due to

expire on November 16, 2024.

             b.     Fang listed SUBJECT PREMISES 2 on her United

States visa application as her address.

             c.     Zhang is listed as Fang’s emergency contact on

his travel application.

                  VII.TRAINING AND EXPIRIENCE ON SMUGGLING

     109. Based on my training and experience, I am familiar

with the methods employed in smuggling operations and the

patterns employed by smuggling organizations.         I have also

spoken with other experienced agents and other law enforcement

officers about their experiences and the results of their

investigations and interviews.       I am knowledgeable in the

methods and modes of smuggling operations and the language

patterns of these groups. I have become familiar with the

methods of operation typically used by smugglers.          Based on my
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 37 of 42 Page ID #:37




training, experience, my conversations with other law

enforcement officers, and my knowledge of this investigation and

others, I am aware of the following.

     110. Smugglers frequently conduct their illegal activities

inside of secure locations, which are private, but to which they

have ready access; therefore, I believe that SUBJECT PREMISES 1,

2, and 3 are likely to be areas where persons who are engaged in

smuggling are located and conduct their operations.

     111. Smugglers will frequently keep the smuggled goods

supplier and customer records, and other items relating to their

smuggling activities at their residences (including garages and

outbuildings on their properties), businesses, and other secure

areas, such as storage lockers.

     112. Smugglers also conceal items related to their crimes

in vehicles, including vehicles outside of their residences, or

businesses so that they have ready access to them and so that

they can hide them from law enforcement, including law

enforcement officers executing search warrants at their

residences or businesses.

     113. Smugglers will often have secret show rooms inside a

business or residence to showcase the smuggled goods available,

 including in locked safes, drawers, and filing cabinets.

     114. Smugglers will often receive goods on a regular basis.

Such smugglers will thus have an “inventory” that will fluctuate

in size depending on the demand for the product.

     115. Smugglers often use one or more telephones, pagers, or

other digital devices to negotiate times, places, schemes, and
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 38 of 42 Page ID #:38




manners for importing, possessing, concealing, manufacturing,

and distributing smuggled goods, and for arranging the proceeds

from the sale of the smuggled goods.        Additionally, I know that

professional smugglers depend upon maintaining both long-

distance and local contacts with both suppliers and those down

the organizational chain, to the local distributors.

     116. Data contained on digital devices used by smugglers

often include, among other things, records of telephone calls,

text messages, and e-mail and social media communications

between the smugglers and the co-conspirators; Global

Positioning System (“GPS”) information and other location

information that can help identify stash locations, meeting

places, and smuggling routes; and identifying information about

the smugglers and co-conspirators, such as contact lists,

calendar appointments, and photographs or videos.

     117. Individuals involved in smuggling typically pay or

receive large sums of money for goods.        Therefore, smugglers

typically have significant amounts of cash on hand, as proceeds

of sales, to purchase their own supplies, or as profits from

their smuggling activities (such as profits from sales or

profits from the transportation of smuggled goods).

     118. Smugglers also often maintain in their residences,

businesses or vehicles documents relating to their communication

devices, in the form of receipts, bills, telephone and address

books, and other books and papers which reflect, among other

things, the names, addresses, and/or telephone numbers of their
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 39 of 42 Page ID #:39




customers, co-conspirators, and associates in the smuggling

organization.

     119. Individuals involved in smuggling goods can provide

goods on credit to trusted distributors in their organization

and can obtain smuggled goods from their suppliers on credit.

Therefore, I am aware that individuals involved in smuggling

goods maintain books, records, customer lists, receipts, notes,

ledgers, and other papers relating to the transportation,

receipt, ordering, sales, and distribution of goods, proceeds,

and equipment, and that such documents may be in code to attempt

to thwart law enforcement.

            VIII. TRAINING AND EXPIRIENCE ON DIGITAL DEVICES

      120. Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 40 of 42 Page ID #:40




           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 41 of 42 Page ID #:41




      121. Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      122. Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.
Case 2:24-mj-03694-DUTY Document 1 Filed 06/20/24 Page 42 of 42 Page ID #:42



                            IX.CONCLUSION

     123. For all the reasons described above there is probable

cause to believe that evidence of violations of the SUBJECT

OFFENSES, as described above and in Attachment B, will be found

in a search of the SUBJECT PREMISES and SUBJECT VEHICLES, as

further described in Attachment A-1, A-2, A-3, A-4, A-5, A-6,

and A-7.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 20st day of
June, 2024.



HONORABLE ROZELLA A. OLIVER
UNITED STATES MAGISTRATE JUDGE
